Case 2:04-CV-02574-BBD-tmp Document 19 Filed 06/17/05 Page 1 of 2 Page|D 31

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FoR THE wEsTERN DISTRICT oF TENNESSEE

 

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WANDA FARMER,
Plaintiff,
v. Case No. 04-2574-D/P
TENNESSEE A]R NATIONAL GUARD,
Defendant.

 

ORDER GRANTING ADDITIONAL TIME

This cause came on to be heard upon motion of plaintiff to allow her until July 30, 2005,
2005, to file her response to defendant’s motion to dismiss. For good cause shown, the Court will

allow the additional days requested by the plaintiff

IT IS ORDERED THAT counsel is allowed until July 30, 2005, to fi

le the response of
the plaintiff in the above cause.

      

    

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CV-02574 was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

